     Case 1:12-cr-00310-DAD-BAM Document 166 Filed 04/07/16 Page 1 of 2


 1   RICHARD A. BESHWATE, JR. SBN 179782
     Attorney at Law
 2   2020 Tulare Street Suite A
 3   Fresno CA 93721
     (559) 266-5000
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                                     UNITED STATES DISTRICT COURT
10
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
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12
     UNITED STATES OF AMERICA,                       Case No. 1:12-CR-00310-DAD-BAM-8
13
                        Plaintiff,
14
            v.                                       STIPULATION AND ORDER TO
15                                                   CONTINUE SENTENCING HEARING
     TRAVIS DODD,
16
                        Defendants.
17

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19          IT IS HEREBY STIPULATED by and between the parties hereto through their respective

20   counsel, RICHARD A. BESHWATE, JR., attorney for Defendant TRAVIS DODD, and

21   LAUREL MONTOYA, Assistant U.S. Attorney for Plaintiff, that the hearing currently scheduled

22   for April 11, 2016 at 10:00 a.m., shall be continued until MAY 11, 2016, at 10:00 a.m., or a time

23   that the matter may be heard that the Court deems appropriate.

24          This continuance is necessary because parties need additional time to prepare for

25   sentencing.

26          The parties stipulate that the time until the next hearing should be excluded from the

27   calculation of time under the Speedy Trial Act. The parties stipulate that the ends of justice are

28   served by the court excluding such time, so that counsel for the defendant may have reasonable
                                                      1
     Case 1:12-cr-00310-DAD-BAM Document 166 Filed 04/07/16 Page 2 of 2


 1   time necessary for effective preparation, taking into account the exercise of due diligence. 18
 2   U.S.C. §3161(h)(7)(B)(iv). The parties stipulate and agree that the interests of justice are served
 3   by granting this continuance outweigh the best interests of the public and the defendant in a
 4   speedy trial. 18 U.S.C. §3161(h)(7)(A).
 5   Dated: April 6, 2016                  Respectfully submitted,
 6
                                           /s/ Richard A. Beshwate, Jr.
 7                                         RICHARD A. BESHWATE, JR.
 8                                         Attorney for Defendant,
                                           TRAVIS DODD
 9

10   Dated: April 6, 2016
                                           Respectfully submitted,
11

12                                         /s/ Laurel Montoya
                                           MELANIE ALSWORTH
13                                         Assistant U.S. Attorney

14
                                                      ORDER
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16            The sentencing hearing for the above named defendant is continued to May 16, 2016, at

17   10:00am in Courtroom 5 before District Judge Dale A. Drozd.
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     IT IS SO ORDERED.
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20   Dated:     April 7, 2016
                                                          UNITED STATES DISTRICT JUDGE
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